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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                               CENTRAL DIVISION

GENE EDWARD SCOTT II                                                           PLAINTIFF

V.                                   4:22CV00475 JM

UNITED STATES DEPARTMENT
OF AGRICULTURE, Doris Washington,
Executive Director                                                          DEFENDANTS

                                       JUDGMENT

       Consistent with the Order that was entered on this day, it is considered, ordered, and

adjudged that this case is hereby DISMISSED without prejudice.

       IT IS SO ADJUDGED this 31st day of May, 2022.



                                                      ________________________________
                                                      UNITED STATES DISTRICT JUDGE
